











Opinion issued February 25, 2009
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;












In The
Court of Appeals
For The
First District of Texas




NO. 01-09-00113-CV




IN RE C.M., A MINOR, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION 




By petition for writ of mandamus, relator, C.M., seeks relief compelling the
trial court to vacate its order waiving jurisdiction.        
We deny the petition for writ of mandamus.  All pending motions are overruled
as moot.   
&nbsp;
Per Curiam&nbsp;
&nbsp;
Panel consists of Chief Justice Radack and Justices Alcala and Hanks.  


